Case 2:18-cv-11776-AJT-EAS ECF No. 92 filed 03/25/20     PageID.2606   Page 1 of 3



                       UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

JOHN DOE,                                        :
                                                 :   Case No. 18-cv-11776
                              Plaintiff,         :
                                                 :   Hon. Arthur J. Tarnow
             v.                                  :   Mag. Elizabeth A. Stafford
                                                 :
UNIVERSITY OF MICHIGAN, et al.,                  :
                                                 :   DEFENDANTS’
                              Defendants.        :   NOTICE OF APPEAL
                                                 :

DEBORAH GORDON LAW                         SAUL EWING ARNSTEIN &
Deborah L. Gordon                          LEHR LLP
Elizabeth A. Marzotto Taylor               Joshua W. B. Richards
33 Bloomfield Hills Parkway, Suite 220     Amy L. Piccola
Bloomfield Hills, Michigan 48304           1500 Market Street, 38th Floor
(248) 258-2500                             Philadelphia, Pennsylvania 19102
dgordon@deborahgordonlaw.com               (215) 972-7737
emarzottotaylor@deborahgordonlaw.com       joshua.richards@saul.com
                                           amy.piccola@saul.com
Attorneys for Plaintiff

                                           MILLER, CANFIELD, PADDOCK
                                           AND STONE, P.L.C.
                                           Brian M. Schwartz
                                           150 West Jefferson, Suite 2500
                                           Detroit, Michigan 48226
                                           (313) 963-6420
                                           schwartzb@millercanfield.com

                                           Attorneys for Defendants
Case 2:18-cv-11776-AJT-EAS ECF No. 92 filed 03/25/20       PageID.2607     Page 2 of 3



                    DEFENDANTS’ NOTICE OF APPEAL
      Notice is hereby given that the individual Defendants in the above-captioned

proceeding, Pamela Heatlie, Robert Sellers, Martin Philbert, Erik Wessel, Laura

Blake Jones, E. Royster Harper, Suzanne McFadden, and Paul Robinson, hereby

appeal to the United States Court of Appeals for the Sixth Circuit from the March

23, 2020 Order (ECF No. 90) and March 24, 2020 Judgment (ECF No. 91) entered

in this action: (1) denying in part Defendants’ motion to dismiss as to the district

court’s subject matter jurisdiction, the applicability of qualified immunity as to the

individual Defendants, and as to the operative complaint’s failure to state a

procedural due process claim; and (2) granting Plaintiff’s motion for partial

summary judgment as to his procedural due process claim.



                                          Respectfully submitted,
March 25, 2020

                                          /s/ Joshua W. B. Richards
MILLER, CANFIELD,                         SAUL EWING ARNSTEIN & LEHR
PADDOCK AND STONE, P.L.C.                 LLP
Brian M. Schwartz                         Joshua W. B. Richards
150 West Jefferson, Suite 2500            Amy L. Piccola
Detroit, Michigan 48226                   1500 Market Street, 38th Floor
(313) 963-6420                            Philadelphia, Pennsylvania 19102
schwartzb@millercanfield.com              (215) 972-7737
                                          joshua.richards@saul.com
                                          amy.piccola@saul.com

                                          Attorneys for Defendants
Case 2:18-cv-11776-AJT-EAS ECF No. 92 filed 03/25/20       PageID.2608    Page 3 of 3



                         CERTIFICATE OF SERVICE
      I hereby certify that on March 25, 2020, I electronically filed the foregoing

Notice of Appeal with the Clerk of the Court using the ECF system, which will

send notification of such filing and service to all parties through their counsel of

record (listed below) and to the Clerk, U.S. Court of Appeals for the Sixth Circuit:


                                  Deborah L. Gordon
                            dgordon@deborahgordonlaw.com



                                       /s/ Joshua W. B. Richards
                                       SAUL EWING ARNSTEIN & LEHR LLP
                                       Joshua W. B. Richards
                                       1500 Market Street, 38th Floor
                                       Philadelphia, Pennsylvania 19102
                                       (215) 972-7737
                                       joshua.richards@saul.com

                                       Attorney for Defendants
